Case 2:22-cv-00004 Document 1 Filed 02/24/22 Page 1 of 6 PageID #: 1
Case 2:22-cv-00004 Document 1 Filed 02/24/22 Page 2 of 6 PageID #: 2
Case 2:22-cv-00004 Document 1 Filed 02/24/22 Page 3 of 6 PageID #: 3
Case 2:22-cv-00004 Document 1 Filed 02/24/22 Page 4 of 6 PageID #: 4
Case 2:22-cv-00004 Document 1 Filed 02/24/22 Page 5 of 6 PageID #: 5
Case 2:22-cv-00004 Document 1 Filed 02/24/22 Page 6 of 6 PageID #: 6
